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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


GARY PUHR,

                       Plaintiff,                     Case No. 16-728

v.

PQ CORPORATION,

                       Defendant.


                                    NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that Defendant PQ Corporation (“PQ”), by and through its

attorneys, Pellis Law Group, LLP, and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby

gives notice of removal of the case styled Gary Puhr v. PQ Corporation, Case No. 15 L-0912,

from the Circuit Court of Will County, Illinois, to the United States District Court for the

Northern District of Illinois. In support of this Notice of Removal (“Notice”), PQ states as

follows:

       1.      On or about December 23, 2015, Plaintiff Gary Puhr (“Plaintiff”) filed a summons

and complaint at law (“Complaint”) against PQ, Case No. 15 L-0912, in the Circuit Court of

Will County (“State Court Action”). See Summons and Complaint, attached hereto as Exhibit A.

       2.      The Complaint alleges negligence on the part of PQ, specifically claiming that PQ

did not maintain its property and equipment in a safe condition and that PQ failed to warn

Plaintiff, as a business invitee, of the need for particular personal protective footwear. See

Exhibit A, Complaint at ¶¶ 10-11.




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          3.   PQ accepted service of the Summons and Complaint in the State Court Action on

January 11, 2016.

          4.   PQ has not yet filed an appearance, answer, or any motions in the State Court

Action.

                                  GROUNDS FOR REMOVAL

          5.   This Notice is brought pursuant to 28 U.S.C. § 1441(a), which provides, in

relevant part, that “… [A]ny civil action brought in a State court of which the district courts of

the United States have original jurisdiction, may be removed by the defendant or the defendants,

to the district court of the United States for the district and division embracing the place where

such action is pending.” 28 U.S.C. § 1441(a).

          6.   This Notice is also brought pursuant to 28 U.S.C § 1332(a)(1), which provides, in

relevant part, “[T]he district courts shall have original jurisdiction of all civil actions where the

matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs, and is

between -- Citizens of different States…” 28 U.S.C § 1332(a)(1).

          7.   Removal is proper under 28 U.S.C. §§ 1332 and 1441 because there is complete

diversity of citizenship between Plaintiff and PQ and the amount in controversy exceeds the sum

of $75,000.

          8.   Plaintiff is domiciled in the city of Oak Lawn, located within Cook County, in the

state of Illinois. See Exhibit A, Complaint at ¶ 1.

          9.   PQ is a Pennsylvania corporation with its principal place of business in the state

of Pennsylvania. See PQ’s Corporation File Detail Report for the Illinois Secretary of State,

attached hereto as Exhibit B. As such, PQ is deemed to be a citizen of Pennsylvania for diversity

purposes. 28 U.S.C. § 1332(c)(1); Moore v. Gen. Motors Pension Plans, 91 F.3d 848, 850 (7th



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Cir. 1996) (“… [A] corporation does not have a domicile; rather, its citizenship for diversity

purposes is determined by its place of incorporation and its principal place of business.”);

Krueger v. Cartwright, 996 F.2d 928, 931 (7th Cir. 1993) (“… [A] corporation … is deemed to

be a citizen of any state in which it has been incorporated and of the state where it has its

principal place of business.”).

       10.     In Illinois, a plaintiff in a personal injury lawsuit is not allowed to specify the

amount of damages sought, except to the extent necessary to comply with circuit court rules of

assignment. 735 ILCS 5/2-604. As such, plaintiff’s Complaint does not set forth a specific sum

of damages sought against PQ, but rather demands judgment “in an amount in excess of the

jurisdictional limits of this court.” See Exhibit A, Complaint at final paragraph. However, the

amount in controversy, which represents the total amount Plaintiff is seeking, includes damages

for alleged “severe injuries of permanent and lasting nature.” See Exhibit A, Complaint at ¶ 13.

More specifically, Plaintiff seeks damages for alleged pain and suffering, medical care, and lost

wages dating back to the time of the incident, which occurred over two years ago on December

31, 2013. See Exhibit A, Complaint at ¶¶ 4, 13. Plaintiff also seeks damages for future pain and

suffering, medical care, and lost wages. See Exhibit A, Complaint at ¶ 13. As such, PQ

contends this amount is greater than $75,000. See 28 U.S.C. § 1446(c)(2)(A)(ii) (“If removal of

a civil action is sought on the basis of the jurisdiction conferred by section 1332(a)…the notice

of removal may assert the amount in controversy if the initial pleading seeks a money judgment,

but the State practice…does not permit demand for a specific sum…”).

       11.     Accordingly, PQ asserts that diversity jurisdiction exists, and this Court has

subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332.




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       12.     Venue properly lies with this Court pursuant to 28 U.S.C. §§ 1441(a) and 1446(a),

as this action is presently pending in the Circuit Court of Will County, Illinois, which lies within

the Northern District of Illinois’ Eastern Division.

                     COMPLIANCE WITH REMOVAL PROCEDURES

       13.     PQ has complied with all of the procedural requirements for removal set forth in

28 U.S.C. § 1446. This Notice is timely because it is being filed within thirty (30) days of the

date PQ was served with the Summons and Complaint. See 28 U.S.C. § 1446(b).

       14.     In accordance with 28 U.S.C. § 1446(d), this Notice is being provided to Plaintiff,

through his attorney of record, Glenn C. Ronaldson, 19 S. LaSalle Street, Suite 1402, Chicago,

IL 60603.

       15.     Further, pursuant to 28 U.S.C. § 1446(d), PQ will file a copy of this Notice with

the Clerk for the Circuit Court of Will County, Illinois, in Case No. 15 L-0912.

       16.     Copies of all process, pleadings, and orders served on PQ are attached hereto as

required by 28 U.S.C. § 1446(a).

       WHEREFORE, PQ respectfully requests that this Court grant removal of this action from

the Circuit Court of Will County, Illinois to the United States District Court for the Northern

District of Illinois, Eastern Division and that this Court exercise jurisdiction over this action and

direct the Circuit Court of Will County to have no further jurisdiction over this matter.




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                                             Respectfully submitted,

                                             PQ CORPORATION

Dated: January 19, 2016               By:    /s/Joseph L. Pellis II
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